                Case 2:21-cv-01208-BJR Document 25 Filed 09/28/21 Page 1 of 4




 1                                             THE HONORABLE BARBARA J. ROTHSTEIN

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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7

 8   DANIEL STRENFEL, individually and on behalf
     of a class of similarly situated individuals,
 9                                                   No. 2:21-cv-01208-BJR
                   Plaintiff,
10                                                   STIPULATION AND ORDER TO
           v.                                        EXTEND TIME TO ANSWER
11                                                   COMPLAINT
     T-MOBILE USA, INC.,
12
                   Defendant.
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24   STIPULATION AND ORDER TO                                               Perkins Coie LLP
                                                                     1201 Third Avenue, Suite 4900
     EXTEND TIME TO ANSWER COMPLAINT                                 Seattle, Washington 98101-3099
     (No. 2:21-cv-01208-BJR) - 1                                           Phone: 206.359.8000
                                                                            Fax: 206.359.9000
              Case 2:21-cv-01208-BJR Document 25 Filed 09/28/21 Page 2 of 4




 1          Under Western District of Washington Local Rules 7(d)(1) and 10(g), Plaintiff and

 2   Defendant T-Mobile USA, Inc., (“the Parties”), stipulate that T-Mobile’s deadline to answer or

 3   otherwise respond to the Complaint in the above-captioned action is extended for a total of 14

 4   days, through October 14, 2021.

 5          As of August 23, 2021, there is a pending motion before the Judicial Panel on Multidistrict

 6   Litigation (“JPML”) regarding transfer and coordination or consolidation of related cases,

 7   including this one, for pretrial proceedings under 28 U.S.C. § 1407. See In re T-Mobile Customer

 8   Data Security Breach Litigation., MDL Docket No. 3019 (ECF No. 1). The additional 14 days

 9   will allow T-Mobile to assess the pending JPML motion and continue discussions with Plaintiffs’

10   counsel here and counsel in the related cases before responding to Plaintiff’s Complaint.

11                                                Dated: September 27, 2021

12                                                By: /s/ Steve Y. Koh
                                                  Steve Y. Koh, WSBA No. 23284
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                                                  Lauren J. Tsuji, WSBA No. 55839
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23                                                Attorneys for Defendant T-Mobile USA, Inc.

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          Case 2:21-cv-01208-BJR Document 25 Filed 09/28/21 Page 3 of 4




 1
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 1                                            ORDER
     IT IS SO ORDERED.
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     Dated this 28th day of September 2021.
 4
                                                           s/Barbara J. Rothstein
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                                                           Barbara J. Rothstein
 6                                                         U.S. District Court Judge

 7
     Presented by:
 8
     /s/ Steve Y. Koh
 9
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     Attorneys for Defendant T-Mobile USA, Inc.
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